 Fill in this information to identify your case and this filing:

 Debtor 1                    Horia Said
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


 United States Bankruptcy Court for the:                     NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number            18-40252-RLE                                                                                                                    
                                                                                                                                                        x     Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.       Where is the property?




 1.1                                                                        What is the property? Check all that apply
        CP Interest in
        4597 Deep Creek Rd
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Fremont                           CA        94555-2063                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $950,000.00                 $950,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                              Fee Simple
        Alameda                                                                    Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                               At least one of the debtors and another         Check    if this is community property
                                                                                                                                 (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Debtor's residence
                                                                            Value per full appraisal


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $950,000.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
               Case: 18-40252                      Doc# 29              Filed: 03/07/18                Entered: 03/07/18 17:05:55                     Page 1 of 37
 Debtor 1         Said, Horia                                                                                  Case number (if known)        18-40252-RLE
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:       Honda                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      CR-V                                    Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:       2016                                     Debtor 2 only                                           Current value of the         Current value of the
         Approximate mileage:                 80000           Debtor 1 and Debtor 2 only                              entire property?             portion you own?
         Other information:                                   At least one of the debtors and another
        Debtor's residence
        eKBB Value; Purch 2016; no                           Check if this is community property                              $15,740.00                    $15,740.00
        cram                                                       (see instructions)



  3.2    Make:       Honda                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Civic 2Dr                                Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2017                                     Debtor 2 only                                           Current value of the         Current value of the
         Approximate mileage:                 34000           Debtor 1 and Debtor 2 only                              entire property?             portion you own?
         Other information:                                  At least one of the debtors and another
        Title 50% in Husband's name;
        50% in son's name. Driven by                         Check if this is community property                                         $0.00                     $0.00
        son; Value $16,000 (body                                   (see instructions)
        damage); loan $21,059

  3.3    Make:       Honda                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Accord                                   Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2016                                     Debtor 2 only                                           Current value of the         Current value of the
         Approximate mileage:                 10000           Debtor 1 and Debtor 2 only                              entire property?             portion you own?
         Other information:                                  At least one of the debtors and another
        Lease; Only Husband lessee;
        Husband drives vehicle                               Check if this is community property                                         $0.00                     $0.00
                                                                   (see instructions)



  3.4    Make:       BMW                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      428i Coupe                               Debtor 1 only                                           Creditors Who Have Claims Secured by Property .
         Year:       2016                                     Debtor 2 only                                           Current value of the         Current value of the
         Approximate mileage:                                 Debtor 1 and Debtor 2 only                              entire property?             portion you own?
         Other information:                                  At least one of the debtors and another
        Lease; Only husband Lessee.
        Driven by daughter                                    Check if this is community property                                        $0.00                     $0.00
                                                                   (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                   $15,740.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
Official Form 106A/B                                                     Schedule A/B: Property                                                                      page 2
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
          Case: 18-40252                    Doc# 29               Filed: 03/07/18           Entered: 03/07/18 17:05:55                        Page 2 of 37
 Debtor 1       Said, Horia                                                                             Case number (if known)     18-40252-RLE
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Furniture                                                                                                            $300.00

                                   Linens, sheets and towels                                                                                            $100.00

                                   Mattress and box spring                                                                                               $50.00

                                   Small kitchen appliances                                                                                             $100.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   Refrigerator                                                                                                         $150.00

                                   TV's, stereos, other electronics                                                                                     $400.00

                                   Washer and dryer                                                                                                     $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes.     Describe.....
                                   CP Interest in 9 mm Handgun- Smith and Wesson                                                                        $400.00


11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   Clothing                                                                                                             $800.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.    Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.    Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.    Give specific information.....

Official Form 106A/B                                                  Schedule A/B: Property                                                                page 3
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
          Case: 18-40252                    Doc# 29               Filed: 03/07/18       Entered: 03/07/18 17:05:55                   Page 3 of 37
 Debtor 1          Said, Horia                                                                                                    Case number (if known)   18-40252-RLE


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                    $2,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                     Cash on hand                            $50.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:

                                                                                                CP int in Wells Fargo Bank
                                              17.1.      Checking Account                       Husband's possession                                                       $600.00



                                              17.2.      Checking Account                       CP Interest in Bank of America                                               $89.00



                                              17.3.      Checking Account                       Chase                                                                      $200.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                            Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                  Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                                                Institution name or individual:


Official Form 106A/B                                                                     Schedule A/B: Property                                                                page 4
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                            Doc# 29                  Filed: 03/07/18                         Entered: 03/07/18 17:05:55           Page 4 of 37
 Debtor 1       Said, Horia                                                                               Case number (if known)    18-40252-RLE
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............         Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.    Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.    Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.    Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                            Beneficiary:                            Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.    Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes.     Describe each claim.........




Official Form 106A/B                                                  Schedule A/B: Property                                                                page 5
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 Debtor 1         Said, Horia                                                                                                           Case number (if known)   18-40252-RLE

                                                             Cause of action for slander of title relating to case No.
                                                             RG17878237. No present intent to pursue                                                                                $0.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.       Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.      Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................                     $939.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $950,000.00
 56. Part 2: Total vehicles, line 5                                                                           $15,740.00
 57. Part 3: Total personal and household items, line 15                                                       $2,500.00
 58. Part 4: Total financial assets, line 36                                                                     $939.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $19,179.00              Copy personal property total            $19,179.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $969,179.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 6
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 Fill in this information to identify your case:

 Debtor 1                   Horia Said
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number           18-40252-RLE
 (if known)
                                                                                                                                                    
                                                                                                                                                    x    Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim         Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          Franchise Tax Board                                  Last 4 digits of account number         0333               $6,293.97            $5,829.69                $464.28
              Priority Creditor's Name
                                                                   When was the debt incurred?             2014 and 2016
              PO Box 942867
              Sacramento, CA 94267-0001
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
         Debtor 1 only                                             Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

        At least one of the debtors and another                    Domestic support obligations
        Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 5
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              Case: 18-40252                  Doc# 29             Filed: 03/07/18                Entered: 03/07/18 17:05:55                            Page 7 of 37
 Debtor 1 Said, Horia                                                                                       Case number (if know)          18-40252-RLE

 2.2        Internal Revenue Service                              Last 4 digits of account number       0333              $21,680.41             $20,587.02               $1,093.39
            Priority Creditor's Name
                                                                  When was the debt incurred?           2014 and 2016
            PO Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
         Debtor 1 only                                            Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

        At least one of the debtors and another                   Domestic support obligations
        Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes

 2.3        Internal Revenue Service                              Last 4 digits of account number                         $26,000.00             $26,000.00                    $0.00
            Priority Creditor's Name
                                                                  When was the debt incurred?           2017 estimated
            PO Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes
 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 5
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 Debtor 1 Said, Horia                                                                                    Case number (if know)            18-40252-RLE

 4.1      DSNB Macy's                                               Last 4 digits of account number       5900                                             $235.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                          When was the debt incurred?           09/01/2014
          PO Box 8053
          Mason, OH 45040-8053
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only
                                                                     Contingent
           Debtor 2 only
                                                                     Unliquidated
           Debtor 1 and Debtor 2 only
                                                                     Disputed
          At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community                    Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify

 4.2      DSNB Macy's                                               Last 4 digits of account number       8393                                            $1,723.75
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                          When was the debt incurred?           2014-2017
          PO Box 8053
          Mason, OH 45040-8053
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only
                                                                     Contingent
           Debtor 2 only
                                                                     Unliquidated
           Debtor 1 and Debtor 2 only
                                                                     Disputed
          At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community                    Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Only debtor signed as obligor


 4.3      Khatera Said (A)                                          Last 4 digits of account number                                                      $80,000.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?           2013
          4597 Deep Creek Rd
          Fremont, CA 94555-2063
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                            Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
          At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a    community                Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 5
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
          Case: 18-40252                    Doc# 29               Filed: 03/07/18               Entered: 03/07/18 17:05:55                      Page 9 of 37
 Debtor 1 Said, Horia                                                                                   Case number (if know)            18-40252-RLE

 4.4       Rafi Hamid                                              Last 4 digits of account number                                                        $25,000.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           2017
           1672 Riverview Ave
           Tracy, CA 95377-8287
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify

 4.5       UCSB America                                            Last 4 digits of account number                                                            $337.37
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           07/09/2016
           355 S Grand Ave Ste 3299
           Los Angeles, CA 90071-1560
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                          Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            Check if this claim is for a    community              Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify

 4.6       USCB America                                            Last 4 digits of account number                                                            $230.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           04/08/2017
           PO Box 74929
           Los Angeles, CA 90004-0929
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                          Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            Check if this claim is for a    community              Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 5
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                   Doc# 29              Filed: 03/07/18 Entered: 03/07/18 17:05:55                                     Page 10 of
                                                                                37
 Debtor 1 Said, Horia                                                                                      Case number (if know)       18-40252-RLE
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Kaiser Pernanente                                           Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 1950 Franklin St                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Oakland, CA 94612-5190
                                                             Last 4 digits of account number


 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                  53,974.38
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                       0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                  53,974.38

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.      $                         0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.      $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.      $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                  $                 107,526.12

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.      $                 107,526.12




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 5
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                    Doc# 29             Filed: 03/07/18 Entered: 03/07/18 17:05:55                                      Page 11 of
                                                                                37
 Fill in this information to identify your case:

 Debtor 1                   Horia Said
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number           18-40252-RLE
 (if known)
                                                                                                                                 
                                                                                                                                 x     Check if this is an
                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
      Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                No
                 Yes.

                       In which community state or territory did you live?                            . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Asmatullah Said                                                                       Schedule D, line          2.1
                4597 Deep Creek Rd                                                                     Schedule E/F, line
                Fremont, CA 94555-2063                                                                 Schedule G
                                                                                                      American Infosource LP



    3.2         Asmatullah Said                                                                        Schedule D, line
                4597 Deep Creek Rd                                                                    Schedule E/F, line          4.1
                Fremont, CA 94555-2063
                                                                                                       Schedule G
                                                                                                      DSNB Macy's




Official Form 106H                                                               Schedule H: Your Codebtors                                         Page 1 of 3
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
               Case: 18-40252                     Doc# 29             Filed: 03/07/18 Entered: 03/07/18 17:05:55                     Page 12 of
                                                                                    37
 Debtor 1 Said, Horia                                                                      Case number (if known)   18-40252-RLE


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
    3.3      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       4.2
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                DSNB Macy's



    3.4      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       2.1
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Franchise Tax Board



    3.5      Asmatullah Said                                                                    Schedule D, line        2.2
             4597 Deep Creek Rd                                                                  Schedule E/F, line
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Honda Financial Services (A)



    3.6      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       2.2
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Internal Revenue Service



    3.7      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       4.3
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Khatera Said (A)



    3.8      Asmatullah Said                                                                    Schedule D, line        2.3
             4597 Deep Creek Rd                                                                  Schedule E/F, line
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                Mr. Cooper



    3.9      Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       4.5
             Fremont, CA 94555-2063                                                              Schedule G
                                                                                                UCSB America




Official Form 106H                                                          Schedule H: Your Codebtors                                Page 2 of 3
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                   Doc# 29              Filed: 03/07/18 Entered: 03/07/18 17:05:55               Page 13 of
                                                                                37
 Debtor 1 Said, Horia                                                                      Case number (if known)   18-40252-RLE


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                                Check all schedules that apply:
    3.10     Asmatullah Said                                                                     Schedule D, line
             4597 Deep Creek Rd                                                                 Schedule E/F, line       4.6
             Fremont, CA 94555-2063
                                                                                                 Schedule G
                                                                                                USCB America




Official Form 106H                                                          Schedule H: Your Codebtors                                Page 3 of 3
Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
            Case: 18-40252                   Doc# 29              Filed: 03/07/18 Entered: 03/07/18 17:05:55               Page 14 of
                                                                                37
Fill in this information to identify your case:

Debtor 1                      Horia Said

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF CALIFORNIA,
                                              OAKLAND DIVISION

Case number               18-40252-RLE                                                                     Check if this is:
(If known)
                                                                                                           
                                                                                                           x   An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                  Not employed                                 Not employed
       employers.
                                             Occupation                                                           Saleperson
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                      Edgren Motor Company, Inc

       Occupation may include student or Employer's address
                                                                                                                  5780 Cushing Pkwy
       homemaker, if it applies.
                                                                                                                  Fremont, CA 94538-3290

                                             How long employed there?                                                      5 years and 2 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00       $         14,729.21

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00              $   14,729.21




            Case:
Official Form 106I        18-40252          Doc# 29       Filed: 03/07/18
                                                                     Schedule I:Entered:
                                                                                 Your Income03/07/18 17:05:55                          Page 15 of     page 1
                                                                        37
Debtor 1   Said, Horia                                                                             Case number (if known)    18-40252-RLE


                                                                                                       For Debtor 1            For Debtor 2 or
                                                                                                                               non-filing spouse
     Copy line 4 here                                                                       4.         $              0.00     $        14,729.21

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $       2,466.11
     5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $           0.00
     5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $           0.00
     5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $           0.00
     5e.    Insurance                                                                       5e.        $              0.00     $       1,096.14
     5f.    Domestic support obligations                                                    5f.        $              0.00     $           0.00
     5g.    Union dues                                                                      5g.        $              0.00     $           0.00
     5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $           0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                         6.     $                  0.00     $       3,562.25
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.     $                  0.00     $      11,166.96
8.   List all other income regularly received:
     8a.    Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                             8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                             8b.        $              0.00     $               0.00
     8c.    Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                            8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                          8d.        $              0.00     $               0.00
     8e.    Social Security                                                                 8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                        8f.  $                0.00   $                 0.00
     8g. Pension or retirement income                                                       8g. $                 0.00   $                 0.00
     8h. Other monthly income. Specify: Daughter's auto pmt                                 8h.+ $              565.39 + $                 0.00
            Son's auto pmt. reimb                                                                $              429.78   $                 0.00
            Future family support                                                                $              800.00   $                 0.00
            Est tax overwithholding                                                              $                0.00   $               847.28

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                               9.     $          1,795.17         $          847.28

10. Calculate monthly income. Add line 7 + line 9.                                        10. $            1,795.17 + $        12,014.24 = $      13,809.41
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.     +$           0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.        $      13,809.41
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




            Case:
Official Form 106I   18-40252         Doc# 29          Filed: 03/07/18
                                                                  Schedule I:Entered:
                                                                              Your Income03/07/18 17:05:55                         Page 16 of         page 2
                                                                     37
Fill in this information to identify your case:

Debtor 1                Horia Said                                                                           Check if this is:
                                                                                                             
                                                                                                             x An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF CALIFORNIA,                                           MM / DD / YYYY
                                          OAKLAND DIVISION

Case number           18-40252-RLE
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            son                                  29              Yes
                                                                                                                                         No
                                                                                   son                                  32              Yes
                                                                                                                                         No
                                                                                   son                                  29              Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           3,757.97

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                          200.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                            0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
           Case: 18-40252                 Doc# 29         Filed: 03/07/18 Entered: 03/07/18 17:05:55                                  Page 17 of
                                                                        37
Debtor 1     Said, Horia                                                                               Case number (if known)       18-40252-RLE

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              235.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               124.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              355.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              300.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              100.00
10.   Personal care products and services                                                      10. $                                                55.00
11.   Medical and dental expenses                                                              11. $                                                70.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               150.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               142.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               565.39
      17b. Car payments for Vehicle 2                                                         17b. $                                               429.78
      17c. Other. Specify: Honda CRV pmt                                                      17c. $                                               339.61
      17d. Other. Specify: Accord pmt                                                         17d. $                                               361.42
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                 0.00
      20b. Real estate taxes                                                                  20b. $                                                 0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                 0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                 0.00
21.   Other: Specify:        Hus Chpt 13 plan pmt red for dup claim                            21. +$                                              534.34
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       7,819.51
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       7,819.51
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                             13,809.41
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                             7,819.51

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               5,989.90

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
      Yes.               Explain here: BMW Lease expire May 2019; Civic Pmt. expires on Dec. 2022




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                                                                        37
 Fill in this information to identify your case:

 Debtor 1                 Horia Said
                          First Name                      Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)      First Name                      Middle Name                    Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 Case number           18-40252-RLE
 (if known)
                                                                                                                                         
                                                                                                                                         x   Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                   Dates Debtor 1 lived     Debtor 2 Prior Address:                               Dates Debtor 2
                                                                  there                                                                          lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                 Gross income                 Sources of income               Gross income
                                                  Check all that apply.             (before deductions and       Check all that apply.           (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until              Wages, commissions,                              $0.00        Wages, commissions,
 the date you filed for bankruptcy:               bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

 For last calendar year:                           Wages, commissions,                              $0.00        Wages, commissions,
 (January 1 to December 31, 2017 )                bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                          Operating a business
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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                                                                                 37
 Debtor 1     Said, Horia                                                                                 Case number (if known)   18-40252-RLE


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income                Sources of income             Gross income
                                                  Check all that apply.              (before deductions and      Check all that apply.         (before deductions
                                                                                     exclusions)                                               and exclusions)

 For the calendar year before that:                Wages, commissions,                               $0.00       Wages, commissions,
 (January 1 to December 31, 2016 )                bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income from           Sources of income             Gross income
                                                  Describe below.                    each source                 Describe below.               (before deductions
                                                                                     (before deductions and                                    and exclusions)
                                                                                     exclusions)
 From January 1 of current year until             Daughter auto pmts                               $995.00
 the date you filed for bankruptcy:               reimb 565; son auto
                                                  pmt reimb$430

 For the calendar year before that:               tax refund,                                    $2,216.00
 (January 1 to December 31, 2016 )


                                                  Gambling winnings                            $40,000.00

                                                  Husband                                        $2,643.00
                                                  self-employment
                                                  income


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.      Go to line 7.
                     Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                                Dates of payment          Total amount         Amount you        Was this payment for ...
                                                                                                    paid            still owe


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2

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                                                                                 37
 Debtor 1     Said, Horia                                                                                 Case number (if known)   18-40252-RLE


       Creditor's Name and Address                                Dates of payment         Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe
       Mr. Cooper                                                 Dec. 2017-Feb.            $11,274.00          $480,072.00        Mortgage
       8950 Cypress Waters Blvd                                   2018                                                              Car
       Coppell, TX 75019-4620
                                                                                                                                    Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

       Honda Financail Services                                   3 months before             $1,017.00          $14,044.00         Mortgage
       PO Box 5025                                                filing; paid                                                      Car
       San Ramon, CA 94583-0925                                   monthly                                                           Credit Card
                                                                                                                                    Loan Repayment
                                                                                                                                    Suppliers or vendors
                                                                                                                                    Other

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                                 Dates of payment         Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                                 Dates of payment         Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                                 Nature of the case      Court or agency                          Status of the case
       Case number
       Vrinderpaul S. Mann v Horia Said,                          Voidable transfer,      Superior Court of Alameda                 Pending
       Asmatullah Said                                            conversion, quiet       County                                      On appeal
       RH17878237                                                 title, constructive     24405 Amador St Rm 108
                                                                                                                                      Concluded
                                                                  trust (seeking to       Hayward, CA 94544-1202
                                                                  set aside transfer
                                                                  between W to H)

       Mann v Said, et al                                         voidable transfer       Superior Court of Alameda                   Pending
       HG16802566                                                 of interest in          County                                    On appeal
                                                                  residence to            24405 Amador St Rm 108                      Concluded
                                                                  daughter Khatera        Hayward, CA 94544-1202
                                                                  Said




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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                                                                                 37
 Debtor 1     Said, Horia                                                                                  Case number (if known)   18-40252-RLE


       Case title                                                 Nature of the case       Court or agency                          Status of the case
       Case number
       Vrinderpaul S. Mann v Asmatullah                           Adversary                United States Bankruptcy                  Pending
       Said and Horia Said                                        complaint for            Court NDCA                                  On appeal
       AP 18-04006                                                Voidable                 1300 Clay St
                                                                                                                                       Concluded
                                                                  Transfer,                Oakland, CA 94612-1425
                                                                  constructive
                                                                  tranfer, quiet title


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                  Describe the Property                                      Date                        Value of the
                                                                                                                                                            property
                                                                  Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                                  Describe the action the creditor took                      Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                         Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your           Value of property
       how the loss occurred                                                                                                 loss                                lost
                                                          Include the amount that insurance has paid. List pending
                                                          insurance claims on line 33 ofSchedule A/B: Property.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4

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 Debtor 1     Said, Horia                                                                                 Case number (if known)   18-40252-RLE


 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                   Date payment or          Amount of
       Address                                                      transferred                                             transfer was              payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       The Fuller Law Firm, PC                                      2690.00 plus filing fee                                 1-30-2018                $2,690.00
       60 N Keeble Ave
       San Jose, CA 95126-2723
       Jawad Said

       The Fuller Law Firm, P.C.                                    For drafting Statement of Position in                   12-2017                  $5,000.00
       60 N Keeble Ave                                              Asmatullah case, appearance, and
       San Jose, CA 95126-2723                                      towards mediation
       Jawad Said


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                   Date payment or          Amount of
       Address                                                      transferred                                             transfer was              payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                  Describe any property or        Date transfer was
       Address                                                      property transferred                      payments received or debts      made
                                                                                                              paid in exchange
       Person's relationship to you
       Asmatullah Said                                              2009 Camry which was paid                                                 10-2017
       4597 Deep Creek Rd                                           off and used for down
       Fremont, CA 94555-2063                                       payment on Honda

       Husband

       Asmatullah Said                                              Family residence at 4597                  None                            10-5-2017
       4597 Deep Creek Rd                                           Deep Creek Rd. Fremont,
       Fremont, CA 94555-2063                                       CA 94555; Value at time of
                                                                    transfer est $950K
       Husband


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                              made


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5

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 Debtor 1      Said, Horia                                                                                       Case number (if known)   18-40252-RLE


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                          Last 4 digits of             Type of account or            Date account was       Last balance before
       Address (Number, Street, City, State and ZIP               account number               instrument                    closed, sold,           closing or transfer
       Code)                                                                                                                 moved, or
                                                                                                                             transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State                                             have it?
                                                                      and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                           have it?
                                                                      Address (Number, Street, City, State
                                                                      and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                   Governmental unit                              Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and       know it
                                                                      ZIP Code)




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 6

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 Debtor 1      Said, Horia                                                                                       Case number (if known)   18-40252-RLE


25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
        Name of site                                                  Governmental unit                              Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and       know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
        Case Title                                                    Court or agency                            Nature of the case                    Status of the
        Case Number                                                   Name                                                                             case
                                                                      Address (Number, Street, City, State
                                                                      and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                             Describe the nature of the business                 Employer Identification number
        Address                                                                                                       Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                      Dates business existed
        Neighborhood Restoration Fund,                            House purchase, improvement                         EIN:        XX-XXXXXXX
        LLC                                                       and sale;
        4597 Deep Creek Rd                                        Debtor 1% passive member only                       From-To     1% owner from 2014-2016
        Fremont, CA 94555-2063                                                                                                    Bus existed 4-2012-present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                      Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Horia Said
 Horia Said                                                               Signature of Debtor 2
 Signature of Debtor 1

 Date      March 7, 2018                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 7

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 Debtor 1     Said, Horia                                                                                 Case number (if known)   18-40252-RLE



No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 8

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                                                                                37
 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Horia Said                                                                               According to the calculations required by this
                                                                                                                Statement:
 Debtor 2                                                                                                            1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                         11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the:
                                                   Northern District of California, Oakland                          2. Disposable income is determined under 11
                                                   Division                                                              U.S.C. § 1325(b)(3).
 Case number           18-40252-RLE                                                                                  3. The commitment period is 3 years.
 (if known)

                                                                                                                 4. The commitment period is 5 years.
                                                                                                                
                                                                                                                x Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
        Married. Fill out both Columns A and B, lines 2-11.

    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                               $              0.00      $        12,715.01
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                             $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Do not include payments from a spouse. Do not include payments you
     listed on line 3.                                                                                  $              0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                             Debtor 1
        Gross receipts (before all deductions)                           $      0.00
        Ordinary and necessary operating expenses                       -$      0.00
        Net monthly income from a business, profession, or farm $               0.00 Copy here -> $                    0.00      $               0.00
  6. Net income from rental and other real property                  Debtor 1
        Gross receipts (before all deductions)                         $      0.00
        Ordinary and necessary operating expenses                       -$      0.00
        Net monthly income from rental or other real property          $        0.00 Copy here -> $                    0.00      $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                          page 1
Software Copyright (c) 1996-2016 CIN Group - www.cincompass.com
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 Debtor 1     Said, Horia                                                                                         Case number (if known)     18-40252-RLE


                                                                                                              Column A                       Column B
                                                                                                              Debtor 1                       Debtor 2 or
                                                                                                                                             non-filing spouse
                                                                                                              $                 0.00         $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                                $                 0.00         $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                   $                        0.00
            For your spouse                                           $                        0.00
  9. Pension or retirement income. Do not include any amount received that was a benefit
     under the Social Security Act.                                                      $                                      0.00         $           0.00
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act or payments received as
      a victim of a war crime, a crime against humanity, or international or domestic terrorism.
      If necessary, list other sources on a separate page and put the total below.
                                                                                                              $                 0.00         $           0.00
                                                                                                              $                 0.00         $           0.00
                  Total amounts from separate pages, if any.                                              +   $                 0.00         $           0.00
  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                       $               0.00        +   $      12,715.01    =    $     12,715.01

                                                                                                                                                                 Total average
                                                                                                                                                                 monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                               $         12,715.01
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your dependents,
              such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional adjustments on
              a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                      $
                                                                                                      $
                                                                                                   +$

                      Total                                                                         $                    0.00           Copy here=>          -              0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                        $         12,715.01

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                         $         12,715.01

                Multiply line 15a by 12 (the number of months in a year).                                                                                        x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................               $        152,580.12




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  16. Calculate the median family income that applies to you. Follow these steps:

       16a. Fill in the state in which you live.                           CA

       16b. Fill in the number of people in your household.                 4
       16c. Fill in the median family income for your state and size of household.                                                        $       89,444.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1,
                                                                                                               Disposable income is not determined under 11
                      U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2,
                                                                                                   Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                            $             12,715.01
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
     income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                           -$                     0.00


       19b. Subtract line 19a from line 18.                                                                                               $       12,715.01


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                 $       12,715.01

              Multiply by 12 (the number of months in a year).                                                                                  x 12

       20b. The result is your current monthly income for the year for this part of the form                                              $      152,580.12




       20c. Copy the median family income for your state and size of household from line 16c                                              $       89,444.00


       21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period
                   is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Horia Said
        Horia Said
        Signature of Debtor 1
       Date March 7, 2018
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                 page 3
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 Fill in this information to identify your case:

 Debtor 1           Horia Said

 Debtor 2
 (Spouse, if filing)

                                                   Northern District of California, Oakland
 United States Bankruptcy Court for the:           Division

 Case number        18-40252-RLE
 (if known)                                                                                                 
                                                                                                            x Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                       04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any additional pages,
write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the the
    questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’ s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses
    if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C–1, and do not
    deduct any amounts that you subtracted from your spouse’    s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
           number of any additional dependents whom you support. This number may be different from the number of           4 Living
           people in your household.                                                                                      0 Housing



    National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards,
           fill in the dollar amount for food, clothing, and other items.                                                    $                 1,650.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




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    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person            $               49

            7b. Number of people who are under 65                         X           4

            7c. Subtotal. Multiply line 7a by line 7b.                    $         196.00             Copy here=>        $          196.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person            $            117

            7e. Number of people who are 65 or older                      X           0

            7f.   Subtotal. Multiply line 7d by line 7e.                  $            0.00            Copy here=>        $             0.00


            7g. Total. Add line 7c and line 7f                                                 $      196.00                   Copy total here => $      196.00



    Local Standards         You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
    purposes into two parts:
    Housing and utilities - Insurance and operating expenses
    Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the separate
    instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill in
         the dollar amount listed for your county for insurance and operating expenses.                                    $               590.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                     $        2,735.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                  To calculate the total average monthly payment, add all amounts that are
                  contractually due to each secured creditor in the 60 months after you file for
                  bankruptcy. Next divide by 60.

                  Name of the creditor                                         Average monthly
                                                                               payment

                  -NONE-                                                       $


                                                                                                       Copy                                      Repeat this amount
                                     9b. Total average monthly payment         $               0.00    here=>        -$                  0.00 on line 33a.

            9c. Net mortgage or rent expense.

                  Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                            Copy
                  rent expense). If this number is less than $0, enter $0.                                $           2,735.00          here=>    $       2,735.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $            0.00

             Explain why:




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 Debtor 1     Said, Horia                                                                                        Case number (if known)   18-40252-RLE

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

             0. Go to line 14.
             1. Go to line 12.
            2 or more. Go to line 12.

    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
        expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.             $                                      522.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below. You
        may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for more than
        two vehicles.
     Vehicle 1         Describe Vehicle 1:
                                                 ,
    13a. Ownership or leasing costs using IRS Local Standard..................................................         $             485.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for bankruptcy.
            Then divide by 60.

                 Name of each creditor for Vehicle 1                                Average monthly
                                                                                    payment

                 Honda Financial Services (A)                                       $             234.07

                                                                                                                                                      Repeat this
                                                                                                                  Copy                                amount on
                                        Total Average Monthly Payment               $             234.07          here =>       -$        234.07      line 33b.



    13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if the numbert is less than $0, enter $0. ...................                                       expense here
                                                                                                                       $             250.93      =>              $   250.93


     Vehicle 2         Describe Vehicle 2:

    13d. Ownership or leasing costs using IRS Local Standard..................................................         $             485.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                                Average monthly
                                                                                    payment

                 -NONE-                                                             $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on line
                                        Total average monthly payment               $                0.00         =>       -$             0.00    33c.



    13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                       $             485.00      =>              $   485.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                         $         0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
        deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
        more than the IRS Local Standard forPublic Transportation.                                                                 $                                   0.00



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    Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                           the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your
        pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and subtract
        that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                    $     1,618.72
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
        union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                $         0.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
        together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of
        life insurance other than term.                                                                                                     $         0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
        agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $         0.00
    20. Education: The total monthly amount that you pay for education that is either required:
            as a condition for your job, or
            for your physically or mentally challenged dependent child if no public education is available for similar services.           $         0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                           $         0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
        required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
        savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                          $         0.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services for
        you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
        service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
        is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                         +$         0.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                                  $    8,047.65
        Add lines 6 through 23.
    Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                 Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
        dependents.
            Health insurance                                               $     1,096.14
            Disability insurance                                           $          0.00
            Health savings account                                      +$            0.00

            Total                                                         $        1,096.14        Copy total here=>                       $      1,096.14

            Do you actually spend this total amount?
                  No. How much do you actually spend?
                   Yes                                                    $
    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
        household or member of your immediate family who is unable to pay for such expenses. These expenses may include
        contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).                                                       $         0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
        you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                          $         0.00


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 Debtor 1     Said, Horia                                                                                   Case number (if known)   18-40252-RLE
    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
            then fill in the excess amount of home energy costs.
            You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
            claimed is reasonable and necessary.                                                                                                     $             0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
        elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
            reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.                     $             0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
        than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of
        the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
            this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                            $             0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).

            Do not include any amount more than 15% of your gross monthly income.                                                                    $             0.00

    32. Add all of the additional expense deductions.                                                                                                $       1,096.14
        Add lines 25 through 31.

    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans,
        and other secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
        the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                             Average monthly
                                                                                                                                                 payment
    33a.      Copy line 9b here                                                                                                            =>    $             0.00
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                           =>    $           234.07
    33c.      Copy line 13e here                                                                                                           =>    $             0.00
    33d. List other secured debts
    Name of each creditor for other secured debt                  Identify property that secures the debt                     Does payment
                                                                                                                              include taxes
                                                                                                                              or insurance?

                                                                                                                                    No
             -NONE-                                                                                                                 Yes         $


                                                                                                                                    No
                                                                                                                                    Yes         $


                                                                                                                                    No
                                                                                                                                    Yes   +     $


                                                                                                                                           Copy
                                                                                                                                           total
    33e. Total average monthly payment. Add lines 33a through 33d                                               $              234.07      here=>        $    234.07




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    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or
        other property necessary for your support or the support of your dependents?

         No.       Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments listed in
                    line 33, to keep possession of your property (called the cure amount). Next, divide by
                    60 and fill in the information below.

     Name of the creditor                                         Identify property that secures the debt                    Total cure amount                      Monthly cure
                                                                                                                                                                    amount

     -NONE-                                                                                                              $                               ÷ 60 = $

                                                                                                                                                            Copy
                                                                                                                                                            total
                                                                                                                  Total $                         0.00      here=>        $          0.00

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
              No.      Go to line 36.
         Yes.          Fill in the total amount of all of these priority claims. Do not include current or ongoing
                        priority claims, such as those you listed in line 19.

                          Total amount of all past-due priority claims                                                       $           52,416.60          ÷ 60         $         873.61

    36. Projected monthly Chapter 13 plan payment                                                                            $             2,463.54
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by the
        Executive Office for United States Trustees (for all other districts).                                               X             8.50
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                          Copy total
        Average monthly administrative expense                                                                                   $        277.40          here=> $                 277.40


    37. Add all of the deductions for debt payment.                                                                                                                   $       1,385.08
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                    $          8,047.65
            Copy line 32, All of the additional expense deductions                                $          1,096.14
            Copy line 37, All of the deductions for debt payment                                 +$          1,385.08


            Total deductions..................................................................    $         10,528.87                Copy total here =>              $        10,528.87




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 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                             $              12,715.01
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you received
        in accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
        expended for such child.                                                                       $                        0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified in 11
        U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as specified in
        11 U.S.C. § 362(b)(19).                                                                          $                      0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here              =>     $          10,528.87
    43. Deduction for special circumstances. If special circumstances justify additional expenses
        and you have no reasonable alternative, describe the special circumstances and their
        expenses. You must give your case trustee a detailed explanation of the special circumstances
        and documentation for the expenses.

    Describe the special circumstances                                                   Amount of expense

             Lanning adjustment (future support)                                     $             -800.00
                                                                                     $
                                                                                     $

                                                                                                             Copy
                                                                           Total $           -800.00         here=> $             -800.00


                                                                                                                                  Copy
    44. Total adjustments. Add lines 40 through 43                                               =>      $          9,728.87      here=> -$           9,728.87


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                    $         2,986.14


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported
        in this form have changed or are virtually certain to change after the date you filed your
        bankruptcy petition and during the time your case will be open, fill in the information below. For
        example, if the wages reported increased after you filed your petition, check 122C-1 in the first
        column, enter line 2 in the second column, explain why the wages increased, fill in when the
        increase occurred, and fill in the amount of the increase.

    Form            Line           Reason for change                                      Date of change          Increase or      Amount of change
                                                                                                                  decrease?

     122C-1                                                                                                       Increase
     122C-2                                                                                                       Decrease       $
     122C-1                                                                                                       Increase
     122C-2                                                                                                       Decrease       $
     122C-1                                                                                                       Increase
     122C-2                                                                                                       Decrease       $
     122C-1                                                                                                       Increase
     122C-2                                                                                                       Decrease       $




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                              page 7
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 Debtor 1     Said, Horia                                                                             Case number (if known)   18-40252-RLE




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Horia Said
             Horia Said
             Signature of Debtor 1
    Date March 7, 2018
         MM / DD / YYYY




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                            page 8
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